Case: 1:17-cv-08829 Document #: 327 Filed: 06/10/19 Page 1 of 2 PagelD #:10174

United States District Court Northern District of Illinois
MOTION FOR LEAVE TO APPEAR PRO HAC VICE

 

Case Title: ; Plantiff(s)
NEXT Payment Solutions, Inc.,

VS.

CLEAResult Consulting, Inc., Defendant(s)

 

 

Case Number: 17-CV-8829 Judge: Honorable Ruben Castillo

 

L Devan V. Padmanabhan hereby apply to the Court

 

under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of

Plaintiff, NEXT Payment Solutions, Inc. by whom I have been retained.

 

I am a member in good standing and eligible to practice before the following courts:

 

 

 

 

 

 

 

Title of Court Date Admitted
U.S. Supreme Court 3/10/2014
U.S. District Court of Minnesota 2/18/1994
U.S. Court of Appeals for the Federal Circuit 4/8/1999
Minnesota State Bar 10/22/1993

 

 

 

I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions:

 

Date of Application
Case Number Case Title (Granted or Denied)*

 

 

 

 

 

 

 

 

 

*If denied, please explain:
(Attach additional form if
necessary)

 

Pursuant to Local Rule 83.15(a), applicants who do not have an office within the Northern District of Illinois must designate, at the
time of filing their initial notice or pleading, a member of the bar of this Court having an office within this District upon who service of
papers may be made.

 

 

 

 

 

 

Has the applicant designated local counsel? Yes Y No

 

 

If you have not designated local counsel, Local Rule 83.15(b) provides that the designation must be made within thirty (30) days.
 

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Has the applicant ever been:

censured, suspended, disbarred, or otherwise disciplined by any court?

or is the applicant currently the subject of an investigation of the
applicant’s professional conduct?

Yes

Yes

transferred to inactive status, voluntarily withdrawn, or resigned from the

bar of any court?

denied admission to the bar of any court?

held in contempt of court?

Yes

Yes

Yes

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No Y

 

 

 

 

No Y
No Y

 

 

 

 

 

NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant’s current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations

of the applicant’s conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northern District of Illinois and the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit, and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and

correct.

June 10, 2019

 

s; Devan V. Padmanabhan

 

 

 

 

 

 

 

Date Electronic Signature of Applicant
Last Name First Name Middle Name/Initial
Applicant’s N
Pplieant's Name Padmanabhan Devan V.
Applicant’s Law Firm | Padmanabhan & Dawson, P.L.L.C.
Street Address Room/Suite Number
Applicant’s Address
45 South 7th Street 2315
City State ZIP Code Work Phone Number
Minneapolis MN 55402 612-444-3377

 

 

 

 

 

(The pro hac vice admission fee is $150.00 and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such
time as the fee has been paid.)

NOTE: Attomeys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court. The
fee for admission to the General Bar is $181.00 The fee for pro hac vice admission is $150.00. Admission to the general bar
permits an attorney to practice before this Court. Pro hac vice admission entitles an attorney to appear in a particular case
only. Application for such admission must be made in each case; and the admission fee must be paid in each case.

Rev. 01/01/2018

 
